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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

                v.                                    Case No. 1:23-cv-00853-DAE

GREG ABBOTT, in his capacity as GOVERNOR
OF THE STATE OF TEXAS, and THE STATE
OF TEXAS,

                         Defendants.


        UNITED STATES’ OPPOSITION TO MOTION TO EXCLUDE RELIEF


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Dated: August 12, 2024                         Counsel for the United States of America
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          Before this Court has even heard trial testimony and ruled on the merits, Texas seeks to

“exclude” the United States’ request for an injunction barring Texas from further violating the

Rivers and Harbors Act by placing additional unpermitted obstructions or structures in waters of

the United States. ECF 147.1 Texas’s attempt to prematurely cabin the Court’s discretion to

fashion appropriate equitable relief is inconsistent with the Supreme Court’s conclusion that the

United States is entitled to “a remedy that ensures the full effectiveness of the [Rivers and

Harbors] Act,” even if that remedy is not set forth specifically in the text of the Act. Wyandotte

Transp. Co. v. United States, 389 U.S. 191, 204 (1967). Texas’s motion should therefore be

denied.

                                            ARGUMENT

          Section 12 of the Rivers and Harbors Act (RHA) provides that a court may order the

“removal of any structures or parts of structures erected in violation of” Section 10. 33 U.S.C.

§ 406. Texas insists that this authorizes the Court only to order the unauthorized Floating Barrier

removed; the Court cannot, according to Texas, bar Texas from placing more unpermitted

structures or obstructions in the Rio Grande. See, e.g., ECF 147 at 5-6. As a threshold matter,

Texas’s request to “exclude” even the possibility of granting such relief is premature. There will

be time enough to consider the appropriate scope of relief if and when the United States prevails




1
  Texas filed its motion to exclude injunctive relief on July 3, 2024. The United States construed
it as a motion in limine subject to the August 2, 2024, deadline for responding to such motions.
See United States’ Notice Regarding Motion to Exclude, ECF 148 at 2; see also ECF 97 (March
5, 2024, scheduling order). The August 2nd deadline was then suspended after the United States
moved for a stay and continuance of the district court proceedings. At a status conference on
August 6, 2024, as part of its re-setting of the trial date and amendment of other deadlines and
procedures in the case, the Court ordered that the United States’ response to the motion to exclude
injunctive relief would be due on August 12, 2024. Aug. 6, 2024, Tr. at 23.
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on the merits. See S.E.C. v. Forex Asset Mgmt. LLC, 242 F.3d 325, 331 (5th Cir. 2001) (the district

court has broad discretion to shape equitable remedies).

       In addition, the Supreme Court takes a relatively broad view of the equitable relief available

under the RHA, including to remedy a Section 10 violation like the one the United States has

alleged here. See Wyandotte, supra; see also United States v. Republic Steel Corp., 362 U.S. 482

(1960). In Republic Steel, the Court held that the United States could seek removal of an

“obstruction” caused by the deposit of industrial solids in a waterway even though the Act did not

specifically authorize this relief. Id. at 491-92. The Court reasoned that Congress “has legislated

and made its purpose clear,” providing “enough federal law in s[ection] 10 from which appropriate

remedies may be fashioned even though they rest on inferences.” Id. at 492. To conclude

otherwise would be to “impute to Congress a futility inconsistent with the great design of this

legislation.” Id.; see also Sanitary Dist. of Chi. v. United States, 266 U.S. 405, 429 (1925) (the

RHA is “a broad expression of policy in unmistakable terms”). Similarly, the fact that Section 12

does not expressly refer to prohibitory injunctions should not prevent the Court from entering one

if appropriate following trial.

       Even apart from this long-standing precedent, review of the statutory text fails to support

Texas’s cribbed reading. Congress did not contemplate an equitable authority so ineffectual that

this Court could not prevent an enjoined defendant from installing new prohibited structures.

Section 10 expressly makes it unlawful not just to “build” but to “commence the building of” any

structure covered by the second clause of that provision. 33 U.S.C. § 403 (emphasis added). Thus,

prohibitory relief is available under Section 12 to enforce this prohibition, as the Court need not

await the installation of an offending structure in the Rio Grande before issuing an injunction if it

is unlawful to “commence” such activity. Id.



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       Indeed, this is a particularly appropriate case in which the Court should consider a forward-

looking injunction—not one, as Texas contends, precluding Texas from constructing “any

structure in any navigable waterway anywhere,” ECF 147 at 2, but one precluding it from doing

so unlawfully. Specifically, the United States seeks an order:

              Enjoining Texas from constructing, installing, placing, or maintaining structures in

               waters of the United States, except in compliance with the RHA and all other

               applicable law; and

              Enjoining Texas from creating or maintaining obstructions in or affecting the

               navigable waters of the United States, except in compliance with the RHA and all

               other applicable law.

ECF 60 at 9-10 (First Am. Compl. ¶ 46.a, b).2 There is a clear need for this relief. Texas has

stated that the existing Floating Barrier was merely the first of many, and that it intends to continue

placing unpermitted buoy barriers in multiple portions of the Rio Grande. ECF 5 at 3, 16. If it

prevails on the merits, the United States will be entitled to forward-looking relief that will preclude

Texas from again violating RHA Section 10 in the same manner; otherwise, the United States will

be forced to proceed anew against Texas every time it places a new unauthorized barrier. Cf.

TransUnion v. Ramirez, 594 U.S. 413, 435 (2021) (“As this Court has recognized, a person



2
  When the United States amended its Complaint to add Count II—a claim invoking the 1848
Treaty of Guadalupe Hildalgo—it also added two requests for relief associated with that claim.
The first sought to enjoin Texas from “constructing any work that may impede or interrupt, in
whole or in part, navigation of the Rio Grande, except in compliance with the 1848 Treaty and all
other applicable laws,” while the second sought to compel “remov[al of] the unauthorized work in
the Rio Grande that is impeding and/or interrupting navigation on the river pursuant to the 1848
Treaty.” ECF 58-1 at 10 (First Am. Compl. ¶ 46.c, f.). The United States agrees that, following
the dismissal with prejudice of its treaty claim (ECF 114 at 41), these two requests for relief are
no longer before this Court. Accord ECF 147 at 2. The United States reserves its right to appeal
the dismissal ruling following entry of final judgment.

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exposed to a risk of future harm may pursue forward-looking, injunctive relief to prevent the harm

from occurring[.]”).

       The cases Texas cites do not support excluding any possibility of a forward-looking

injunction, particularly before the Court has even heard, let alone decided, the merits. Texas

principally relies on In re Barnacle Maritime Mgmt., 233 F.3d 865 (5th Cir. 2000), a case that

involved neither injunctive relief nor Section 10 of the RHA. See ECF 147 at 4-5. Barnacle arose

when a tow boat owned by the plaintiff pushed a barge into the federally owned Columbia Lock

and Dam, causing over $1 million in damage. Barnacle, 233 F.3d at 867. Barnacle filed a suit

seeking to limit its liability and the United States counterclaimed under Sections 14 and 16 of the

RHA.3 Id. In brief, Section 14 makes it unlawful to damage works built by the United States to

improve navigable waters, and Section 16 sets out remedies for violations of Section 14 that

include proceeding in rem against any vessel causing such damages. 33 U.S.C. §§ 408, 412.

Instead of proceeding solely in rem against the vessel, the United States also sought damages from

the vessel owner. Barnacle, 233 F.3d at 867. The district court concluded that an implied, in

personam damages remedy was available to the United States, but the Fifth Circuit reversed,

finding that “the plain language of [33 U.S.C.] § 408, . . . and § 412 does not give the United States

a civil in personam remedy against a violator of § 408.” 233 F.3d at 870. Not only does Barnacle’s

holding concerning the availability of implied damages remedies have no application in the present

case—where only injunctive relief, not damages, is sought, and the dispute is over the scope of

injunctive relief, not its availability—but, even as to monetary relief, subsequent Fifth Circuit

caselaw has limited Barnacle’s applicability specifically to claims under Section 14. See In re S.




3
 Texas errs in describing RHA Section 15, 33 U.S.C. § 409, as a basis for the suit in Barnacle.
ECF 147 at 4.
                                                  4
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Scrap Material Co., 541 F.3d 584, 592-95 (5th Cir. 2008) (following Wyandotte and pre-Barnacle

Fifth Circuit decisions concerning RHA Section 15, 33 U.S.C. § 409, to hold that an in personam

damages remedy is available for violations of that section).

       Texas’s other cases similarly fail to support its view that the RHA prohibits forward-

looking injunctive relief for violations of Section 10 or that the availability of such relief may not

be implied. United States v. Jantran, Inc., 782 F.3d 1177 (10th Cir. 2015), like Barnacle, only

held that there is no in personam damages remedy for violations of Section 14 (33 U.S.C. § 408).

782 F.3d at 1182-83. As the Fifth Circuit had done in Southern Scrap Metal, the Tenth Circuit in

Jantran distinguished Section 14 from Section 15 (33 U.S.C. § 409), noting “the Supreme Court

found in Wyandotte that the Act impliedly authorizes injunctive relief and in personam damages

actions for violations of § 409.” 782 F.3d at 1181. The Eighth Circuit’s opinion in In re Am. River

Transp. Co., 800 F.3d 428 (8th Cir. 2015), likewise concerned in personam damages under Section

14 and thus offers no support for Texas’s argument. Id. at 433-36.

       The remainder of the cases Texas cites do not involve the RHA, and do not consider the

proper scope of statutorily authorized injunctive relief. Instead, they all involve parties seeking

relief different in kind, not just scope, from that provided in a given statute.4 This RHA lawsuit

presents no such issue.



4
 See, e.g., Sandoz Inc. v. Amgen Inc., 582 U.S. 1 (2017) (holding injunctive relief was not available
where statute prescribed a different remedy); Karahalios v. Nat’l Fed’n of Fed. Emps., Loc. 1263,
489 U.S. 527, 529 (1989) (holding plaintiff had no private cause of action under Civil Service
Reform Act where that act “vested exclusive enforcement authority . . . in the Federal Labor
Relations Authority”); Northwest Airlines v. Transp. Workers Union, 451 U.S. 77, 93 (1981)
(declining to imply private cause of action under Equal Pay Act or Title VII of Civil Rights Act
where statutes “make express provision for private enforcement in certain carefully defined
circumstances, and provide for enforcement at the instance of the Federal government in other
circumstances”). But see Shinault v. American Airlines, 936 F.2d 796 (5th Cir. 1991) (finding an
implied private cause of action under the Air Carrier Access Act, which included no remedy
provision).
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                                       CONCLUSION

      For the foregoing reasons, Texas’s Motion to Exclude Relief (ECF 147) should be denied.

Dated: August 12, 2024

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                                CERTIFICATE OF SERVICE

       I certify that on August 12, 2024, a copy of this filing was served on counsel of record

through the Court’s electronic filing system.


                                                /s Brian H. Lynk______________________
                                                Brian H. Lynk




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